                    IN THE UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA


ERIC KELLER, on behalf of himself
and all others similarly situated,

                  Plaintiff,

       V                                          Case No.: 1 :23-ov-00409-LCB-LPA



EXPEzuAN INFORMATION
SOLUTIONS, INC.,

                  Defendant



  MEMORANDUM OF LAW IN SUPPORT OF EXPERIAN INFORMATION
 SOI,IITI o NS- INC.'S MOTION TO DISMISS F'IRST AME ED COMPLAINT


                                     INTROT) UCTION

       This case arises under the Fair Credit Reporting Act, 15 U.S.C. $ 1681, et seq

Rather than oppose Experian's motion to dismiss the original complaint, Plaintiff

voluntarily amended his complaint. The case should now be dismissed with prejudice.

       The allegations are straightforward. Plaintiff purchased a Toyota, and refinanced

that purchase through a loan from Truist Bank. Plaintiff admits that he did not make any

of the loan payments. Truist reported the delinquencies to Experian, which were reflected

in Plaintiff s credit file. Plaintiff claims that his obligation to pay the loan was suspended

or excused because Truist frustrated his contractual perfoffnance-namely, it refused to

accept his loan payments. Plaintiff then retained counsel, who drafted a dispute letter to




     Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 1 of 25
Experian over the reporting of the Truist account. Plaintifls counsel-not Plaintiff

himself-affixed Plaintiff s e-signature to the letter and mailed it.

       Experian, under its suspicious mail policy, correctly identified that the letter was not

sent by Plaintiff himself, as required under Section 1681i to trigger a duty to reinvestigate.

Thus, to ensure that athird party was not trying to gain improper access to Plaintiffls credit

file, Experian requested that Plaintiff verifl' his identity, and conltrm that the dispute was

of his own making. Plaintiff did. Experian then conducted a reinvestigation. In connection

with the reinvestigation, Truist "verified the accuracy of the credit reporting to Experian."

ECF No. l,11 31. Experian, in turn, reported the results of the reinvestigation to Plaintiff.

This lawsuit followed.

       Plaintiff claims that Experian violated Section 1681i of the FCRA in three ways.

       .      First, Plaintiff claims that Experian's identity verification request, pursuant

to its suspicious mail policy, violated Section 1681i because that statute'odoes not exempt

a CRA fconsumer reporting agency] from conducting an investigation into disputes that it

deems 'suspicious."' ECF No. n, n 57. But the law is well-settled. In fulfilling its

responsibilities under Section 1681i, Experian may request that a consumer verify his

identity to guard against identity theft. Turner v. Experian Information Solutions, Inc.,

CaseNo. 3:16-CV-630,2017 WL2832738 (N.D. Ohio June 30,2017) ("[T]his Court finds

Experian's suspicious mail policy is reasonable because Experian has a duty not only to

maintain accurate consumer credit information, but also to ensure the confidentiality of

that information.").



                                               1




     Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 2 of 25
           .   Second, Plaintiff claims that the reinvestigation that Experian conducted

after his identity was verified was unreasonable. ECF No. 11, fl'lT 103-106. Not so.

To start, "fa]ccurate reporting by a credit reporting agency is [] a complete defense to

claims under. . . $ 1681i(a)." Gauciv. Citi Mortg.,2012 WL 1535654,*5 (C.D.Cal. Apr.

30,2012). Here, it is undisputed that Plaintiff never made one payment on the Truist loan.

Hence, Experian's reporting is 100% accurate. While Plaintiff alleges that his payment

obligations were suspended or excused by Truist's frustration of his performance, that is a

textbook example of a legal dispute that Experian, pursuant to Fourth Circuit precedent, is

not required to resolve in connection with a reinvestigation request under Section 1681i.

Saunders v. Branch Banking and Trust Co Of Virginia,526F.3d 142,150 (4th Cir. 2008);

Jonesv.CityPlaza,LLC,l:19-CV-924,2020WL2062325,at*4(M.D.N.C.Apr.29,2020)

(Tilley, J.) (holding same). Regardless, Plaintiff fails to allege facts establishing an

unreasonable reinvestigation on Experian's part. Indeed, Plaintiff pleads that Experian

"relayed the credit report disputes to Truist Bank, as is standard practice in the credit

reporting business and is required by contract." ECF No. 1, fl 30.

       .       Third, Plaintiff claims that Experian violated Section 1681i by "reporting

information that it could not veriff." ECF No. 11, fl'lT 107-l10. Yet, Plaintiff admits that

Truist, in connection with Experian's reinvestigation of Plaintiffs dispute, "verffiedthe

accuracy of the credit reporting to Experiarf' see ECF No. 1, fl 31 (emphasis added),

an admission that defeats his claim.

       In addition to the foregoing deficiencies, all claims fail because, apart from
Plaintiff s threadbare allegation that his e-signature was affixed to letters that he admittedly

                                              -3-


     Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 3 of 25
did not send himself, Plaintiff does not plead any facts establishing that he played a role in

the preparation of the dispute letters; his new allegation that he 'korked with" his counsel

                                            ooUnder
is conclusory and lacks factual support.              those circumstances, the letters did not

come 'directly' from fPlaintiff]," as is required to trigger a duty to reinvestigate under

Section 1681i. See Warner v. Experian Information Solutions, Lnc.,931 F.3d 917,921

(9th Cir. 2019) (citing Turner,2017 WL 2832738, at *8 (holding that the plaintiff did not

notif' Experian of a dispute "directly" because "[s]he did not draft the dispute letter,
provide documentation supporting its claims, review its accuracy, sign it, or mail it")).

Warner and Turner are dispositive. All claims under Section 1681i thus fail.

       Finally, there is no basis to maintain a willful violation claim under Safeco Ins. Co.

of Am. v. Burr,55l U.S. 47,70 (2007). Given the well-developed body of case law and

administrative agency guidance: (1) upholding Experian's right to request identity

verification in connection with a reinvestigation request, and (2) finding that Experian has

no obligation to reinvestigate where, as here, a dispute letter was not sent by the consumer

himself, there is no violation of Section 1681i, much less a willful violation. 1d.

       Accordingly, this action should be dismissed with prejudice.

                                        Y OF ALLEGATIO

       In March of 2021, Plaintiff purchased a2021 Toyota 4 Runner, which he financed

through TD Auto Finance. ECF No. I 1, fl 6. In December of 2021, Plaintiff refinanced

his Toyota through Truist Bank. Id.,117 . In connection with the refinance, Truist sent a

check to TD Auto to payoff the original loan. Id.,n 8. Plaintiff alleges, on "information

and belief," that Truist then sent another payoff check to TD Auto for the original loan.

                                             -4


     Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 4 of 25
Id.,n9. TD Auto, upon realizingthat it had been paid twice for the same loan, refunded
the amount of one of the payoff checks to Truist. Id., n rc. Truist, in turn, allegedly

mistakenly credited that refunded money to Plaintiffs account, and listed the car as paid

off. Id., fl I l. Truist then released the title to the vehicle to Plaintiff. Id.,n 12 and Ex. A.

       Thereafter, Plaintiff claims that he made numerous attempts to make payments on

the loan, but claims that Truist refused to accept such payments. Id., fl 14. According to

Plaintiff, 'ohe was unable to get Truist to accept a payment at any time." Id.,n 15. Thus,

Plaintiff affirmatively alleges that he did not make any payments on the Truist loan. Id.

       In August of 2022, Plaintiff claims that Truist "realized it had made a mistake and

reopened Plaintiff s account." Id.,n 17. Truist sent Plaintiff a due bill of $5,202.05, which

consisted of all the monthly payments up to that point that Plaintiff did not make, plus late

fees and interest. Id..,1118. Plaintiff claims that he attempted to contact Truist to get the

amount corrected, to no avail. Id., n 19. Plaintiff does not allege that he ever made any

loan payments-either before or after discovery of the alleged error

       Truist reported to Experian that Plaintiff was several months in arrears on the loan.

Id.,n 20. As it is required to do by law, Experian reported those delinquencies in Plaintifls

credit file. According to Plaintiff, this reporting was'ofalse" due to the delinquency being

entirely Truist Bank's 'omistake." Id.,n 21. This reporting, according to Plaintiff; failed to

acknowledge that Truist did not allow Plaintiff to make payments, thus frustrating

Plaintiff s payment obligations. 1d.,122.

       Thereafter, Plaintiff hired a lawyer to repair that credit reporting. ld.,n24. Plaintiff

authorized his counsel to afhx his e-signature to the correspondence. Id.,26.In his original

                                              -5-

     Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 5 of 25
complaint, Plaintiff did not allege that he played any role in the preparation of the letter.
                                             okorked with" his lawyers in drafting the letter,
ECF No. 1,n24. He now alleges that he

see ECF No. I l, n 25, but does not allege any facts establishing what, if anything, he

actually did. Regardless, Plaintiff still concedes that he himself did not mail the letter,

                           o'authorized" his counsel to send the letter to Experian. Id.,\26.
alleging instead that he

       Plaintiff alleges that the dispute letter "clearly sets forth Plaintiff s dispute," id.,n 30,

"is clearly signed at the bottom by Plaintiff," id.,n 3 1, and lists Plaintiff as the "Sender" of

the letter, id.,n33. But Plaintiff himself did not "clearly sign[]" the letter; instead, his

counsel affixed his e-signature. Id., n 26. Nor was Plaintiff the "Sender" of the letter;

instead, his counsel sent the letter. Id. While the body of the letter misleadingly and

incorrectly'olists" Plaintiff as the "sender"-/.e.,the letter does not identiff his counsel as

the drafter and sender of the letter (in order to circumvent the direct dispute requirement

imposed by Section 1681i)-Experian, pursuant to its suspicious mail policy, correctly

identified that the letter was not sent by Plaintiff himself. Id.,n 34. Deeming it suspicious

and to guard against, among other things, potential identity theft, Experian contacted

Plaintiff to request identity verification-i.e., did you make this dispute? Id. In response,

Plaintiff sent Experian a letter "confirming that he authorizedthe dispute." 1d.,n38.

       Upon receipt of the requested verification, Experian "relayed the credit report

disputes to Truist Bank, as is standard practice in the credit reporting business and is

required by contract." EFC No. 1, fl 30; ECF No. 11, fl 39. Truist, in turn, informed

Experian that Plaintiff did not make any of the required loan payments, and hence, "verified

the accuracy of the credit reporting to Experian." Id.,ECF No. 1.1131; ECF No. 11, fl 40.

                                               -6-


     Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 6 of 25
Experian then mailed a letter to the Plaintiff stating that it verified that the information

reported by Truist was accurate after a reinvestigation. ECF No. ll,1146.

                     STATEMENT OF OUESTIONS PRESENTED

       1   .   In order to state a claim under Section 1681i of the FCRA, aparty must plead

and prove that a consumer reporting agency maintains inaccurate credit information about

a consumer. Should Plaintiff s claims under Section 1681i be dismissed because he pleads


that he never made any payments on the Truist loan, and Experian accurately reported that

undisputed fact in his credit file?

       2.      Under the law in the Fourth Circuit and elsewhere, a consumer reporting

agency, pursuant to a reinvestigation request under Section 168li of the FCRA, is not

required to reinvestigate a dispute between a consumer and a creditorldata furnisher over

the validity of a debt. Should Plaintiff s claims under Section 1681i be dismissed to the

extent Plaintiff contends that Experian's reinvestigation was unreasonable because it failed

to adjudicate whether Truist's alleged frustration of performance excused or suspended

Plaintiff s contractual payment obligations?

       3.      Courts throughout the country roundly have held that a consumer reporting

agency, pursuant to a reinvestigation request under Section 1681i of the FCRA, may

request an identity verification from a consumer where dispute correspondence did not

appeffi to come from the consumer himself. Should Plaintiffs claim under Section 168li

be dismissed where Experian correctly identified lhat a dispute letter was not sent by

Plaintiff himself, and Experian sought an identity verification from Plaintiff before

reinvestigating his dispute?

                                            -7 -


     Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 7 of 25
       4.       In order to trigger a duty to reinvestigate under Section 1681i of the FCRA,

the statute, on its face, requires that a dispute be communicated to a consumer reporting

agency by the consumer himself oodirectly." Every court interpreting this requirement, as

well as the Federal Trade Commission, have so concluded. Should Plaintiff s claims under

Section 1681i be dismissed because Plaintiff affirmative pleads that he himself did not send

any dispute correspondence to Experian "directly" and, moreover, he does not allege

sufficient facts that he played any role in the preparation of the dispute?

       5.       Section 1681i of the FCRA requires a consumer reporting agency to conduct

a reasonable reinvestigation of a consumer's dispute. Should Plaintiff s claims under

Section 1681i be dismissed given Plaintiffs allegation that Experian's reinvestigation

conformed to "standard practice in the credit reporting business and [wa]s required

by contract?"

       6.        Plaintiff pleads that Experian violated Section 1681i of the FCRA by

"reporting information that it could not veriff." Should that claim be dismissed given

Plaintiffs allegation that Truist, in connection with Experian's reinvestigation of

Plaintiff s dispute, "verified the accuracy of the credit reporting to Experian?"

       7.       Both the United States Supreme Court and courts throughout the country

have held that where case law andlor administrative guidance support actions taken by a

consumer reporting agency, there cannot be a willful violation claim as a matter of law

Should Plaintifls willful violation claims be dismissed given the fact that courts and

federal agencies uniformly have upheld the very actions that Experian is alleged to have

undertaken in the complaint?

                                            -8-

     Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 8 of 25
                                 LEGAL         GUMENT

      Plaintiff pleads three claims against Experian under Section l68i of the FCRA.

None may move forward

I.                   F'AILS TO PLEAD A FACT TIAL INA                   ACY

       "To bring a claim under $ 1681i, a consumer 'must first show that his "credit file
                                                                                          *4
contains inaccurate or incomplete information.""' Jones, 2020 WL 2062325, at

(citation omitted). That is, "[a]ccurate reportingby a credit reporting agency is [] a

complete defense to claims under . . . $ 1681i(a)." Gauci,2012 WL 1535654,
                                                                                  *5' Thus,

in order to succeed on any of his three claims under Section 1681i, Plaintiff must plead and

prove that Experian reporte d inaccurate credit information about him. That he cannot do.

       Plaintiff pleads that he did not make any payment on his loan with Truist Bank,

alleging that "he was unable to get Truist to accept a payment at any time." ECF No. 1,

fl 14 (emphasis added); ECF No. I 1,n22. Truist, in turn, reported to Experian that Plaintiff

did not make payments on the loan. ECF No. 1 1,n20. Accordingly, Experian's reporting

of Plaintiffs account as having delinquent payments was L}}%factually accurate.
No amount of leave to amend will ever change this fact. Thus, Plaintiff s three claims

under Section 1681i-which hinge upon the existence of a factual inaccuracy-must

be dismissed.

       Plaintiff may contend that Experian's reporting must be legally inaccurate because

his contractual obligation to pay his loan was excused because "Truist did not allow

Plaintiff to make payments." 1d.,122. Butthat is the textbook definition of a legal dispute

between Plaintiff and Truist-i.e., did Truist's alleged frustration of performance excuse

                                             -9 -


     Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 9 of 25
or suspend Plaintifls contractual payment obligation? A consumer reporting agency, like

Experian, does not have an obligation under Section 1681i of the FCRA to resolve such

legal dispute between a consumer and creditor in connection with a reinvestigation request,

as courts uniformly have held. See, e.g., DeAndrade v. Trans Union LLC,523 F.3d 61, 68

(lst Cir. 2008) ("Determining whether [the consumer] was entitled to stop making . . .

payments is a question for a court to resolve in a suit against [the creditor] . . . not a job

imposed upon consumer reporting agencies by the FCRA."); Saunders,526F.3d at 150

(same); Jones,2020 WL 2062325, at *4 (same) (collecting cases). This is so because

consumer reporting agencies, as the Ninth Circuit has put it,o'are not tribunals." Carvalho

v, Equifux Info. Servs., LLC, 629 F.3d 876, 891 (9th Cir. 2010); accord Batterman v. BR

Carroll Glenr idge, LLC, 829 F . App' x 47 8, 481 ( 1 1 th Cir. 2020); Brill v. Trans Union LLC,

838 F.3d 919, 921 (7th Cir. 2016); Wright v. Experian Info. So/s., Inc., 805 F.3d 1232,

1242 (l}th Cir. 2015); Angino v. Transunion LLC, 784 F. App'x 67, 69 (3d Cir. 2019);

Jianqing Wu v. Trans (Inion,2006 WL 4729755, at *4 (D. Md. May 2, 2006), aff'd,

Jionqing Wuv. Trans Union,2I9Fed. Appx. 32A (4thCir.2007).

       Accordingly, in connection with Plaintiff s reinvestigation request, Experian had no

duty under Section 1681i to adjudicate whether, under state law, Plaintiffs payment

obligations on his loan were suspended or excused due to Truist's alleged frustration of

performance. DeAndrade, 523 F.3d at 68. This is particularly so here, as Plaintiff pleads

that Truist, in connection with Experian's reinvestigation, "verified the accuracy of the

credit reportingto Experian." ECF No. 1, 1J 31; ECF No. 1 1, 1T40. In otherwords, contrary

to Plaintiff s view, Truist takes the position that Plaintiff was not excused from making his

                                             -10-


    Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 10 of 25
payments. Adjudging who is legally correct-the role of a court or a jury-is not an

obligation the law imposes upon Experian; instead, it is a matter that Plaintiff must first

resolve with Truist. Saunders,526 F.3d at 150.

       Percyv. Toyota Motor Corp., CaseNo. 1:18-cv-00034,2019 WL 332813 (W.D. Va.

Jan.25,2019) is directly on point. Like here, the plaintiff purchased a Toyota. One month

into the lease, Plaintiff filed for bankruptcy. The Toyota lease was included in the

bankruptcy petition. While in bankruptcy, however, the plaintiff voluntarily assumed the

vehicle lease. Post-discharge, Toyota sent billing statements to plaintiff, which he did not

pay. Toyota then reported the delinquent payments to Experian, Equifax, and TransUnion.

Although plaintiff disputed the reporting of those delinquencies, Toyota confirmed their

accuracy. Like here, the plaintiff contended that the consumer reporting agencies violated

Section 1681i in failing to reasonably reinvestigate his dispute. According to plaintiff, he

was not responsible for the payments because the assumption agreement he executed in

bankruptcy was included in the discharge. Toyota disagreed. In ruling on the consumer

reporting agencies' motion to dismiss, the district court observed that it "need not weigh in

on the issue" of whether plaintiff or Toyota was correct because plaintiff s "contention that

the reporting is inaccurate because he is not liable for the assumption agreement presents

a legal defense to the debt rather than a factual inoccu'acy in the reporting, and thus he

does not state a claim under the FCRA." Id. at *5 (emphasis added).

       So too here. Plaintiff believes his payment obligations on the Truist loan were

excused or suspended due to Truist's alleged frustration of his performance. But as Perry

points out, a "complaint's allegations must disputefacls underlying a purported inaccuracy,

                                            - 11 -


    Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 11 of 25
as the presentation of legal defenses to payment will not suffice." Id. (citation omitted)

(italics in original). Yet, just as in Perry,Plaintiffls o'claims against Experian do not dispute

any facts underlying Experian's allegedly inaccurate reporting of his Toyota account as due

and owing, with a past-due balance-[Plaintiffl admits that he stopped making payments

on the debt[.]" Id. Rather, "his claims present a legal defense to paymenf"-f1ssf1ation        of

performance by his contracting counter-party. Id. Bnt"the FCRA is not suited to resolving

such an argument. The FCRA aims to prevent inaccurate credit reporting; it is not a route

for debtors to challenge the validity of underlying debts." Id.l

       In his amended complaint, Plaintiff alleges that, "[f]or over l5 years, the Fourth

Circuit has recognized that a consumer who attempted to make car payments, which

payments were refused by the creditor, can state a claim for inaccuracy under the FCRA."

ECF No. 11,1T 16 (citing Saunders,526F.3d 142 Mitchell v. Ocwen Loan Servicing, LLC,

Civ. No. 4:14CY169,2016 WL 8730899, atn.6 (E.D.Va. Feb. 16, 2016)). Neither case

assists Plaintiff with claims against Experian. In Saunders, the Fourth Circuit drew a clear

distinction between claims involving legal disputes against data furnishers (Truist) and

consumer reporting agencies (Experian). Claims against data furnishers involving legal

disputes pose no concerns because a furnisher "is the creditor on the underlying debt":

               [A]ll of these cases are distinguishable because they involved
               claims brought against CRAs under $ 1681e(b) or $ 1681i,

       I In drafting the FCRA, Congress predicted this circumstance, and added a provision
in Section 1681i to allow consumers who have a dispute with their creditors over a debt to
 add a statement on to their credit report setting forth their position on the dispute: "If the
reinvestigation does not resolve the dispute, the consumer may file a brief statement setting
forth the nature of the dispute." 15 U.S.C. $ 168li(b). Plaintiff does not allege that he
availed himself of this procedure.

                                              -t2-

     Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 12 of 25
              while the case at hand involves a claim against a furnisher
              under $ 1681s-2(b)(1). Claims brought against CRAs based
              on a legal dispute of an underlying debt raise concerns about
              "collateral attacks" because the creditor is not a patty to the
              suit, while claims against furnishers such as BB & T do not
              raise this consideration because the furnisher is the creditor on
              the underlying debt.

Saunders, 526 F.3d at 150 (italics in original). Mitchell is of the same ilk-a dispute

between a consumer and the creditor on the underlying debt-not a consumer reporting

agency. Thus, while Plaintiff may have a claim against Truist for its alleged conduct, his

claim against Experian, pursuant to Saunders and its progeny, fails to state a claim for relief.

       In short, Experian's reporting that Plaintiff failed to make payments on his loan with

Truist is factually accurate, and whether Plaintiff s payment obligation was suspended due

to Truist's frustration of performance is a"legal defense to payment" that Experian is not

required to resolve in connection with a reinvestigation under Section 1681i.

II.    EXPERIAN'S ID  ITY VERIF'ICATION REOUEST AS PROPER AND
       PLAINLY W S NOT A VIOLATION OF S TroN 1681i
       Plaintiff s claim that Experian violated Section 1681i by sending him an identity

verification request cannot move forward for another reason: Experian only is required to

reinvestigate disputes that originate from the consumer himself. 15 U.S.C. $ 168li(a);

Warner,93l F.3d at9l9. Thus, indischarging its obligations under Section 1681i, a

consumer reporting agency may request an identity verification to confirm that the

consumer himself-and not a third party trying to gain access to a consumer's file-made

the dispute, as courts repeatedly have found:

              Experian [pursuant to its suspicious mail policy] informed
              [Plaintiff] that it would not take further action unless he

                                             - 13 -


      Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 13 of 25
              personally contacted Experian. fPlaintiff] now asserts that
              Experian's refusal to reinvestigate violated the Fair Credit
              Reporting Act. Experian, on the other hand, argues it did not
              have to reinvestigate because Warner did not communicate
              with Experian directly.

              We agree with Experian.

Warner,93l F.3d at 919; Tlrner,2017 WL 2832738 ("[T]his Court finds Experian's

suspicious mail policy is reasonable because Experian has a duty not only to maintain

accurate consumer credit information, but also to ensure the confidentiality of that

information."); Birmingham v. Experian Info. Sols., Inc., 633 F.3d 1006, I0l2 (1Oth Cir.

20ll) ("Experian's response in July was appropriate; it asked for additional identif ing
information to be sure it was being contacted by the consumer himself."); Ogbon v.

Beneficial Credit Servs.,1nc., No. 10-3760,2013 WL 1430467, at *8 (S.D.N.Y. Apr. 8,

2013) (finding it "entirely reasonable" to request additional identifying information before

processing dispute and granting summary judgment to Experian); Anderson v. Trans Union,

405 F. Supp. 2d 977 ,984 (W.D. Wis. 2005) (finding it "both reasonable and prudent" to

verif identiffing information before processing dispute and granting summary judgment
to Trans Union); Sarver v. Experian Information Solutions, Inc., 299 F . Supp. 2d 87 5, 877

(N.D. Ill. 2004) (finding it'oreasonable" to request additional information about consumer

before processing dispute and granting summary judgment to Experian); A-t Credit &

Assurance Co., Inc. v. Trans (Jnion Credit Info. Co.,678 F. Supp. ll47,l15l (E.D. Pa.

1988) (finding that a consumer reporting agency "is certainly entitled to protect itself

against claims of improper disclosure by . . . only dealing with the particular consumer").




                                           -t4-

    Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 14 of 25
Indeed, Experian's suspicious mail policy correctly identified that Plaintiff himself did not

send the dispute letter. Id.,n 25 (conceding that his lawyer mailed the letter).

       Plaintiff does not plead any facts establishing that the letter his lawyer drafted and

mailed to Experian identified that it was prepared by counsel for Plaintiff-e.g., "This firm

represents Mr. Keller, and he has authorized us to make this dispute on his behalf'and was

on law firm letterhead identiffing the firm as the source. Accordingly, Experian rightly

requested identity verification from Plaintiff because, after all, Experian correctly

identified that the letter was not sent by Plaintiff. To be sure, if the letter came from a

criminal imposter and Experian's suspicious mail policy (as it did here) correctly identified

that the letter did not come from the consumer himself, but nonetheless reinvestigated the

dispute and provided Plaintiff s credit information to the imposter, Plaintiff would sue

Experian for negligence. That is why circuit courts of appeal have reached the

commonsense conclusion that a consumer reporting agency, in discharging its obligations

under Section 1681i, may "ask[] for additional identiS'ing information to be sure it was

being contacted by the consumer himself." Birmingham,633 F.3d at 1012.

       Plaintiff s contrary position-that Experian must stick its head in the sand even if,

as is the undisputed case here, Experian conectly identified that the letter did not come

from the consumer himself-is not the law (see above), and could lead to potential identity

theft (and other unintended outcomes). The claim is wholly without merit, and should be

dismissed with prejudice.




                                            - 15 -


     Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 15 of 25
ilr.     EXPERIAN HAD NO D              TO REINVESTIGATE

         Section 1681i provides that consumer reporting agencies, such as Experian, must

"conduct a reasonable reinvestigation" when an item in the consumer's credit file "is

disputed by the consumer andthe consumer notifies the agency directly... of such dispute."

15 U.S.C. $ 168li(aXlXA) (emphasis added). Based upon the allegations in the complaint,


however, Plaintiff "hired [a lawyer] to submit letters to credit agencies on his behalf, but

he did little else." Warner,g31 F.3d at 921. As a matter of law, those letters plainly did

not come "directly" from Plaintiff as is necessary to trigger a duty to reinvestigate on

Experian's part.

         "The preeminent canon of statutory interpretation requires [courts] to presume that

the legislature says in a statute what it means and means in a statute what it says there.

Thus, our inquiry begins with the statutory text, and ends there as well if the text is

unambiguous." Id. (quoting Satterfield v. Simon & Schuster, Inc., 569 F.3d 946,951 (9th

Cir. 2009) (internal quotation marks and brackets omitted). Plaintiffs claim "can be

resolved by considering the unambiguous meaning of the word'directly."' Id. As the

Ninth Circuit explained in Warner, "[t]he most pertinent definition of directly is 'without

any intervening agency or instrumentality or determining influence."' Id. (quoting

Merriam-Webster's Third New International Dictionary 641 (2002)). "That definition," as

the Ninth Circuit put it, "demonstrates that to notify a consumer reporting agency of a

dispute 'directly,' a letter must come from the consumer and be sent to the agency." Id.

(citing Turner,2017 WL 2832738, at *8).



                                            -t6-

       Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 16 of 25
       As in Warner, Plaintiff "played almost no part in submitting the dispute letter to

Experian." Beyond his allegations that his e-signature was affixed to the letter and he

consented to have itmailed, seeECF No.        I atll24 &.25. Plaintiff does not allege any
facts to establish that he made a direct dispute. For example, apafi from his conclusory

allegation that he ooworked with" his lawyers to prepare the letter, he does not plead any

facts to establish his participation-such as whether he "identif[ied] the items to be

disputed." Warner,931 F.3d at92l. He does not even allege that he "reviewfed] the letter

fthat his lawyer] drafted before it sent it to Experian." Id. Based upon the threadbare

allegations in the complaint, it is entirely unclear whether Plaintiff "played [any] role in

preparing the letters at all." Id. 'oUnder those circumstances, the letters did not come

'directly' from [Plaintiff]." Id. (citingTurner,20lT WL2832738, at *8 (holding same)

Thus, "fb]ecause [plaintiff] did not dispute the items in his credit file directly, Experian

had no duty to respond." Id. at922.

       In addition to Warner and Turner,the Fifth Circuit's decisionin CBE Group , Inc.

v. Lexington Law Firm,993 F.3d 346 (5th Cir. 2021) is instructive. There, CBE sued

Lexington and its vendor "for purportedly perpetrating a fraud in which the firm failed to

disclose that it was sending letters to the companies in its clients' names and on their

behalves." Id. at348. Like here, Lexington drafted and submitted dispute letters in the

names of its clients, but failed to disclose that it was the source of the letter. Id. Although

the Fifth Circuit found that Lexington's conduct did not amount to "fraud"-because CBE

had "developed suspicions that the letters may not have been sent fiom consumers

themselves" (thus defeating the element of reliance)-the court noted that, under Warner

                                             -t7 -


    Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 17 of 25
and Turner, CBE "did not have a statutory obligation to investigate the correspondence

Lexington Law sent on its clients' behalves and in their names[.]" So too here.

       Warner, Turner, and CBE do not stand alone. For 40 years, the Federal Trade

Commission was tasked with enforcing the FCRA. In July 2011, the FTC issued a staff

report summarizing its interpretations, including one with respect to reinvestigations under

section 1681i(a)

          A CRA need not investigate a dispute about a consumer's file raised
          by a third party-such as a "credit repair organization" defined in 15
          U.S.C. $ 1679a(3)-because the obligation under this section arises
          only where file information is disputed "by the consumer" who
          notifies the agency oodirectly" of such dispute.

Federal Trade Commission, 40 Years of Experience with the Fair Credit Reporting Act:

An FTC Staff Report with Summary of Interpretations, 2011 WL 3020575, at *70
(July2011) (emphasis added). Although interpretations in agency reports are not

controlling, they are "entitled to considerable weight," United States v. Nat'l Ass'n of Sec.

Dealers, Inc., 422 U.S. 694, 718-19 (1975), and the Supreme Court has referred to FTC

interpretations ofthe FCRA as "authoritative guidance." Safeco,55l U.S. at70.

       Case law is in accord, with courts siding with consumer reporting agencies under

indistinguishable facts. ln Whelan v. Trans Union Credit Reporting Agency, 862 F . Supp.

824 (E.D.N .Y. 1994), for example, the district court concluded that plaintiffs' FCRA claim

"can be disposed of readily," id. at 833, because the "FCRA requires that the information

be conveyed by the consumer directly to the credit reporting agency." Id. (emphasis in

original). Because, like here, plaintiffs'oconceded that they failed to contact [the consumer

reporting agencies] directly to convey to them the dispute regarding the accuracy of the

                                            - 18 -


    Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 18 of 25
information on their credit reports," the consumer reporting agencies were entitled to

summary judgment. Id,

       Klotz v. Trans (Jnion, LLC, No. 05-4580, 2008 WL 2758445 (E.D. Pa. July 16,

2008), reached the same conclusion, noting that, just like here, the author of the dispute

letter decided "what was to be disputed" and "the basis for the dispute." Id. at *5. Plaintiff

merely took the "pre-drafted disputes," signed the letters, and sent them to Trans Union.

Id. at *2-3. Here, of course, Plaintiff did not even do that-his lawyer affixed his e-

signature and mailed the letter. Regardless, Klotz's ministerial actions were not enough:

"Under the plain text of section 1681i(a)(1)(A), a CRA has no obligation to reinvestigate

unless an item is disputed 'by the consumer,' andthe consumer 'notifies the agency directly

of the dispute."' 1d Based upon the facts before it, the court concluded that the items at

issue "were not'disputed by' the plaintiff." Id. at *5. Thus, the court concluded,

"Trans Union did not owe the plaintiff a duty to reinvestigate," and his 'oclaim under

1681i(a)(1)(A) fails." Id.2

       Under the weight of this authority, Experian had no duty to reinvestigate a dispute

letter that Plaintiff himself admittedly did not send. And, absent such duty, there is no



       2
         In accord Klotz v. Trans Union, LLC,246 F.R.D. 208 (E.D . Pa. 2007) (reasoning
that the 'ostatute requires a CRA to investigate a disputed item only if the dispute is
conveyed 'directly' by the consumer" and "[i]f the dispute is not conveyed to the CRA
'directly,' a claim under section 1681i will fail"); Wiggins v. Equifux Services, lnc.,848F.
Supp. 213, 220 & n. 9 (D.D.C. 1993) (finding genuine issue as to whether consumer
complained "directly" to CRA, 'oa requirement for liability under $ 1681i(a)"); Jackson v.
Warning, No. I 5-1233,2016 WL 7228866, at *8 n. 9 (D. Md. Dec. 13,2016) ("[e]ven if
the CRA is informed of the dispute by the furnisher, the FCRA requires that the information
be conveyed by the consumer directly to the credit reporting agency").

                                            -19-


    Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 19 of 25
legally cognizable claim under Section 1681i as a matter of law. For this independent

reason, this suit should be dismissed

IV                    HAD A DUTY           STIGATE
       F'AILS TO PLEAD F'ACTS ESTABLISHING       RIAN ACTED
       UNREASONABLY

       Plaintiff says that Experian's reinvestigation of his dispute was unreasonable, but

does not plead any facts establishing an unreasonable reinvestigation on Experian's part.

Instead, Ptaintiff alleges that, upon verification of his identity, Experian conducted a
                                                   oostandard practice
reinvestigation of his dispute that conformed to                         in the credit reporting

business and [wa]s required by contract." ECF No. 1, '1T 30. Truist, in responding to

Experian's reinvestigation, "verified the accuracy of the credit reporling to Experian." Id.,

fl 31. There are no allegations that Truist was an unreliable source of credit information;

nor, is there any allegation that the dispute letters that were sent to Experian provided any

documentation that would have put Experian on notice that Truist's reporting was

not accurate. While Plaintiff alleges that Experian did not ask him for such documentation,

see ECF No. I l, fln 42-43, it was Plaintiff's duty to provide all relevant information to

Experian in connection with the dispute. McCelland v. Experian Information Solutions,

Inc., 2006 WL 2191973, at *6 (N.D. Ill. July 28, 2006) ("Plaintiff s second, third, and

fourth letters were no more helpful-each subsequent letter merely repeated the 'not my

account' assertion, without providing any additional information."); see also id. (the lack

of information in plaintiffls dispute letters qualifies as a "failure to provide sufficient

information to investigate the disputed information") (citation omitted).



                                            -20-


     Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 20 of 25
       Under these facts, courts consistently and rightly dismiss claims under

Section 1681i. See, e.g., Huffman v. Experian Info. Sols. Inc.,202l WL 1561304, at *8

(N.D. Cal. April 14,2021) ("[Automated Consumer Dispute Verification] ACDV process

sufficient to constitute a reasonable reinvestigation as a matter of law where the CRA

provided the furnisher with all relevant information and had no reason to suspect the

furnisher's reliability."); Barron v. Equifux Info. Servs., LLC,802 F. App'x 161 (5th Cir.

2020) (finding that a "reporting agency's reliance on the ACDV system is generally

acceptable" and that the consumer "offered no reasonable factual basis for finding the

defendants should have been on notice of a need to go beyond the ACDV system as to this

dispute"); Mainor v. Acctcorp of S. Nevada, No. 2:16-CY-00183-RFB-BNW, 2019 WL

4738012, at *4 (D. Nev. Sept. 28, 2019) (finding that CRA reasonably reinvestigated

dispute through use of ACDV); Stewart v. Equifax Info. Servs., LLC,320F . Supp. 3d I 186,

l2l2 (D. Kan. 2018) (same); Paulv. Experian Info. Sols., lnc.,793 F. Supp. 2d 1098, 1103

(D. Minn. 20ll) (same); Bermudez v. Equifux Info. Servs., LLC,No. 6:07-CV-1492-ORL-

31-GJK, 2008 WL 5235161(M.D.Fla. Dec. 15,2008) (same). In light of furnishers' direct

knowledge of the facts of disputed credit transactions, courts will dismiss reinvestigation

claims against a consumer reporting agency even while finding a question of fact as to the

reasonableness ofthe furnisher's investigation. E.g.,Chijioke-Uchev. Equifux Info. Servs.,

LLC, No. l9-CV-4006,2021 WL 2005499, at *3 (E.D. Pa. May 20,2021). Experian's

reinvestigation of Plaintiff s dispute was reasonable.

       Finally, as a separate claim, Plaintiff pleads that Experian violated Section 1681i by

"reporting information that it could not veriff." ECF No. 1, fl'l] 91-94. The allegations in

                                            -2t -


    Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 21 of 25
the complaint defeat the claim. Plaintiff admits that Truist, in connection with Experian's

reinvestigation of Plaintiff s dispute, "verified the accuracy of the credit reporting to

Experian." Id., fl 3 I . For this independent reason, this claim fails as a matter of law

V.     EXPERIAN D          NOT WILLF'ULLY VIOLATE THE F'CRA

       In Safeco, the Supreme Court held that, "[w]here . . . the statutory text and relevant

court and agency guidance allow for more than one reasonable interpretation, it would de$t

history and current thinking to treat a defendant who merely adopts one such interpretation

as a knowing or reckless violator." 5 5 1 U. S. at 7 0 . Given the well-developed   body of case

law and administrative agency guidance: (1) upholding Experian's right to request identity

verification in connection with a reinvestigation request, and (2) finding that Experian has

no obligation to reinvestigate where, as admittedly is the case here, a dispute is not sent by

the consumer himself, there is no violation of Section 1681i, much less a willful violation.

Thus, the willful violation claims should be dismissed with prejudice.3

                                      CONCLUSION

       The motion to dismiss should be granted without leave to amend.




       3 Citing the Eleventh Circuit's unpublished decision in Younger v.
Experian Information Solutions, Inc., 817 Fed. Appx. 862 (llth Cir. 2020), Plaintiffpleads
"[t]he Younger decision . . . ha[s] provided Experian notice that its suspicious mail policy
entails an unjustifiably high risk of harm that is now known." ECF No. 11, 11 66. Not so.
Younger held the exact opposite, finding that "Experian's actions had a foundation in the
statutory text" and thus, were notwillfuI. Younger, 817 Fed. Appx. at 870-71. Accordingly,
under the authority cited in Plaintiffls complaint, the willful violation claim must
be dismissed.

                                               a1
                                             -LL-




     Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 22 of 25
Dated: August 17,2023              Respectfully submitted,


                                   By:
                                          /s/ Caren D. Enloe
                                          Caren D. Enloe
                                          NC State Bar No. 17394
                                          Of SMITH DEBNAM NARRON
                                          DRAKE SAINTSING & MYERS LLP
                                          NC State Bar No. 17394
                                          P.O. Box 176010
                                          Raleigh, NC 27619-6010
                                          Telephone : 9 19 -25 0 -2000
                                          Facsimile: 919-250-2124

                                          Attorneyfor Defendant
                                          Exper ian Information Solutions, Inc.




                                  -23 -


   Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 23 of 25
                       CERTIFICATION OF WORD COUNT
      The undersigned hereby certifies that the foregoing document does not exceed the

word count set forth in L.R. Civ. Pro. 7.3. In making this certification, the undersigned

relies upon the word count reported by its word processing software

      This the l6th day of August,2023.


                                                 lsl Caren D. Enloe
                                                 Caren D. Enloe
                                                 NC State Bar No. 17394
                                                 Of SMITH DEBNAM NARRON
                                                 DRAKE SAINTSING & MYERS. LLP
                                                 P.O. Box 176010
                                                 Raleigh NC 27619-6010
                                                 Telephone : (9 19)250-2000
                                                 Telefacsim ile: (9 19)25 0-2 I 00
                                                 cenloe@smithdebnamlaw. com




                                          -24-


    Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 24 of 25
                             CERTIFICATION OF SERVICE

      The undersigned hereby certifies that a copy of the foregoing document was served

electronically through the CM/ECF filing system upon the following:

 Benjamin M. Sheridan                       David Chami
 Jed R. Nolan                               Consumer Attorneys PLC
 Klein & Sheridan, LC PC                    8245 N. 85th Way
 964High House Rd. PMB 2039                 Scottsdale, AZ 85258
 Cary, NC 27513                             dchami @consumerattorneys. com
 ben@kleinsheridan. com                     Counsel for Plaintiff
j ed@kleinsheridan. com
 Counselfor Plaintiff

 Susan M. Rotkis
 Consumer Attorneys PLC
 2290East Speedway Blvd
 Tucson, AZ85719
 srotkis @consumerattorneys. com
 Counselfor Plaintiff


This the lTthday of August,2023.


                                                /s/ Caren D. Enloe
                                                Caren D. Enloe
                                                NC State Bar No. 17394
                                                Of SMITH DEBNAM NARRON
                                                DRAKE SAINTSING & MYERS, LLP
                                                P.O. Box 176010
                                                Raleigh NC 27619-6010
                                                Telephone : (9 19)25 0-2000
                                                Telefacsim lle: (9 19)25 0-2 I 00
                                                cenloe@ sm ithdebnamlaw. com




                                        -25 -


    Case 1:23-cv-00409-LCB-LPA Document 16 Filed 08/17/23 Page 25 of 25
